ERWIN EDMUND RICHTER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Richter v. CommissionerDocket No. 21049.United States Board of Tax Appeals10 B.T.A. 1377; 1928 BTA LEXIS 3899; March 14, 1928, Promulgated *3899 Erwin Edmund Richter pro se.  Brice Toole, Esq., for the respondent.  LITTLETON*1377  The Commissioner determined deficiencies of $251.46 for 1922 and $64.53 for 1923.  The question is whether an agreement entered into between petitioner and his wife in 1922 to the effect that all property of the petitioner and his wife which had theretofore been acquired or might thereafter be acquired, should become and remain the joint property of the petitioner and his wife, with the right of survivorship, entitled the petitioner to report as his income only one-half of the compensation received by him for services rendered to a law firm.  FINDINGS OF FACT.  Petitioner is a resident of the State of California and during the taxable years was married and living with his wife.  June 30, 1922, petitioner and his wife entered into a written agreement to the effect that all of the property of the petitioner and his wife theretofore, or which might thereafter be, acquired, should become their joint property with the power of survivorship.  The contract also provided in part that - It is hereby declared to be the purpose and intent of the parties that any and all*3900  property of whatever description now owned and all property which may be hereafter during their joint lives received or acquired, at the time of the receipt thereof by either or both of the parties hereto, shall by virtue of the terms of this agreement become and remain the joint property of the parties hereto, and that they shall hold the same as joint tenants or owners, with power of survivorship, without reference to whether such property is now or would otherwise be held by the parties as their community property or as the separate property of either party, or in any other tenure, form or capacity.  Any income received by either party from any source shall at the time of its receipt be the joint property of both parties.  During the taxable years petitioner received certain compensation for professional services rendered by him as an attorney at law, under a contract of employment made prior to June 30, 1922, between petitioner and a law firm, in which petitioner was not a partner.  Petitioner reported one-half of such compensation as his income, the other half being reported by his wife in her separate return upon which she paid the tax shown to be due by her return.  The Commissioner*3901  held that the compensation received by petitioner for the services mentioned as an attorney was taxable income to him, and increased his income by one-half of such compensation which had been reported by petitioner's wife.  *1378  OPINION.  LITTLETON: No portion of the income which is in controversy in this proceeding was received by petitioner's wife from her separate property or from services rendered by her.  It is the claim of the petitioner that, under the contract wherein he and his wife agreed that all of their property and income should be their joint property and income, he was liable for tax for the taxable years upon only one-half of the compensation received by him from the law firm to which he rendered services.  This question is similar to the question before the court in . The Board is of the opinion that the contract between petitioner and his wife did not operate to relieve the petitioner of the payment of the tax upon compensation in question received by him in the taxable year.  *3902 . Judgment will be entered for the respondent.